           Case 1:23-mc-00004-CJN Document 17 Filed 01/25/23 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


    IN RE SUBPOENAS SERVED ON:
                                                    Misc. Case No. 23-MC-00004
    AMERICAN ACADEMY OF PEDIATRICS,
    et al.,


    AUGUST DEKKER, et al.,

                Plaintiffs,
    v.                                              Northern District of Florida
                                                    Case No. 4:22-cv-325-RH-MAF
    JASON WEIDA, et al.,

                Defendants.

    MOTION OF AUGUST DEKKER, BRIT ROTHSTEIN, SUSAN DOE, AND K.F. FOR
    LEAVE TO FILE AMICUS BRIEF IN SUPPORT OF NON-PARTY GROUPS’ JOINT
                            MOTION TO QUASH

         NOW COME KORI DEKKER, a/k/a AUGUST DEKKER; 1 BRIT ROTHSTEIN; SUSAN

DOE, a minor, by and through her parents JANE and JOHN DOE; 2 and K.F., a minor, by and

through his parent and next friend JADE LADUE 3 (collectively, “Proposed Amici”), and pursuant

to Local Rule 7(o), to hereby move this Court for leave to file the attached brief as amicus curiae

in support of the Joint Motion to Quash by non-parties American Academy of Pediatrics (“AAP”),


1
 Although August Dekker’s legal name is Kori Dekker, he is known by and uses the name August
Dekker in accordance with his male gender identity. Accordingly, this Motion refers to Plaintiff
as August and uses male pronouns to refer to him.
2
  Because Susan Doe is a minor, whose identity is protected pursuant to Federal Rule of Civil
Procedure 5.2(a), and in order to protect the Doe family from undue harassment and intimidation,
the court in the underlying action has allowed Susan Doe, Jane Doe, and John Doe to proceed
pseudonymously. See Order Allowing the Doe Plaintiffs to Proceed Pseudonymously, Dekker v.
Marstiller, Case No. 4:22-cv-325-RH-MAF (N.D. Fla. Sept. 13, 2022) (Dkt. No. 18).
3
 Because he is a minor, K.F. is proceeding under his initials pursuant to Federal Rule of Civil
Procedure 5.2(a).
                                                1
            Case 1:23-mc-00004-CJN Document 17 Filed 01/25/23 Page 2 of 5




Endocrine Society, World Professional Association for Transgender Health (“WPATH”), American

Academy of Child & Adolescent Psychiatry, American Academy of Family Physicians, American

Academy of Nursing, American College of Obstetricians and Gynecologists, American College of

Physicians, American Medical Association, American Pediatric Society, American Psychiatric

Association, Association of American Medical Colleges, National Association of Pediatric Nurse

Practitioners, North Central Florida Council of Child & Adolescent Psychiatry, Societies for Pediatric

Urology, Society for Adolescent Health and Medicine, Society for Pediatric Research, and Society of

Pediatric Nurses (collectively, the “Non-party Groups”). In support thereof, proposed amici state as

follows:

       1.       Proposed Amici are plaintiffs in the underlying action currently pending before the

U.S. District Court for the Northern District Florida, captioned Dekker v. Weida, Case No. 4:22-

cv-325-RH-MAF.

       2.       The lawsuit challenges Defendants’ adoption of Fla. Admin. Code R. 59G-1.050(7)

(the “Challenged Exclusion”), which prohibits Medicaid coverage of medically necessary

treatments for gender dysphoria.

       3.       Proposed Amici are transgender Medicaid beneficiaries diagnosed with gender

dysphoria. For years, Medicaid covered medically necessary treatment for their gender dysphoria.

The Challenged Exclusion took away that coverage, resulting in the denial of access to necessary

medical care and causing significant harm to the Proposed Amici and other transgender Medicaid

beneficiaries across Florida.

       4.       The issues before the Court are of acute concern to the Proposed Amici, who stand

to be directly impacted by the Court’s ruling.

       5.       “An amicus curiae, defined as ‘friend of the court,’ does not represent the parties

but participates only for the benefit of the Court.” Hard Drive Productions, Inc. v. Does 1-1,495,
                                                  2
            Case 1:23-mc-00004-CJN Document 17 Filed 01/25/23 Page 3 of 5




892 F. Supp. 2d 334, 337 (D.D.C. 2012) (quotation and citation omitted). Whether to permit

amicus participation is within the Court’s discretion. Id. “Generally, a court may grant leave to

appear as an amicus if the information offered is ‘timely and useful.’” Ellsworth Associates, Inc.

v. United States, 917 F. Supp. 841, 846 (D.D.C. 1996). “[P]ermitting persons to appear in court .

. . as friends of the court . . . may be advisable where third parties can contribute to a court’s

understanding.” Harris v. Pernsley, 820 F.2d 592, 603 (3d Cir. 1987); see also Hard Drive

Productions, Inc., 892 F. Supp. 2d at 337 (“Amicus participation is normally appropriate when . .

. the amicus has unique information or perspective that can help the court beyond the help that the

lawyers for the parties are able to provide.”).

       6.       The proposed brief meets these criteria. In opposing the Non-Party Groups’ Joint

Motion to Quash, Defendants have made several representations about the Proposed Amici’s

theory of the case that are either inaccurate or paint an incomplete picture. Proposed Amici seek

to provide the Court with additional information so that it has a complete understanding of their

theory of the case, the issues at play in the case, and of Defendants’ own course of action during

discovery, which undermines their arguments.

       7.       The participation of amicus curiae is particularly appropriate where, as here, a case

will have significant implications for civil rights protections beyond the immediate parties before

the Court and is of general public interest. See Neonatology Assoc., Inc. v. Comm’r of Internal

Rev., 293 F.3d 128, 132 (3d Cir. 2002) (Alito, J.). Proposed Amici would “fulfill the classic role

of amicus curiae by assisting in a case of general public interest, . . . supplementing the efforts of

counsel, and drawing the court’s attention to law that might otherwise escape consideration.”

Funbus Systems, Inc. v. California Public Utilities Com., 801 F.2d 1120, 1125 (9th Cir. 1986).




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            Case 1:23-mc-00004-CJN Document 17 Filed 01/25/23 Page 4 of 5




       8.       In addition, the proposed amicus brief is timely under the circumstances. Proposed

Amici only became aware of Defendants’ representations when they filed their opposition on

January 20, 2023. See, e.g. Tafas v. Dudas, 511 F. Supp. 2d 652, 660 (E.D. Va. 2007) (finding

motions to file amicus briefs submitted “a relatively short time after the case began” and before

the first hearing were "sufficiently timely"). If this motion is granted, Defendants will have an

opportunity to respond to Plaintiffs’ arguments during the hearing on the Joint Motion to Quash.

As such, there will be no delay in the proceedings.

       9.       Pursuant to Local Rule 7(m), counsel for the Proposed Amici conferred with the

parties’ counsel concerning the filing of its amicus brief. The Non-Party Groups consent to the

filing of the brief. Defendants oppose the filing of the brief.

       10.      A copy of the proposed amicus brief has been submitted with this motion along

with a proposed order.

       WHEREFORE, Plaintiffs respectfully request that the Court grant leave to file the attached

amicus brief in support of Non-Party Groups’ Joint Motion to Quash.

       Dated this 25th day of January 2023.

                                                      Respectfully submitted,

                                                      /s/ Gary J. Shaw
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         Case 1:23-mc-00004-CJN Document 17 Filed 01/25/23 Page 5 of 5




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                                 Counsel for Proposed Amici




                                CERTIFICATE OF SERVICE

       I hereby certify that on January 25, 2023, I electronically filed the foregoing document
with the Clerk of the Court using the CM/ECF filing system. I also certify that the foregoing
document is being served this date on all counsel of record in the manner specified, either via
transmission of Notices of Electronic Filing generated by the CM/ECF system or in some other
authorized manner for those counsel or parties who are not authorized to receive electronically
Notices of Electronic Filing.

                                                          By: s/ Gary J. Shaw




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